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                                                                  UNITED STATES DISTRIC]T COUIIT

                IN THE DISTRICT COURT OF THE I.INITED STTfHSUERQUE, NEIT/ IIEXICO
                      FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
                                                                      ,,,J::JJ:::,7
                                                                              CLERK
             Plaintiff,

vs.                                                           Cause   No. 19 CR 4440MY

NICHOLOUS PHILLPS,

             Defendant.


                      Ononn PrnurrrrNc WrrnnnawAr,
      THIS MATTER comes before the Court on the Motion of counsel for

NICHOLOUS PHILLIPS to withdraw from the appointment, and the Court, having

considered the premises, concludes the Motion is well taken and should be granted.

      IT IS THEREFORE ORDERED that the Federal Public Defender is permitted to

withdraw from this case and is relieved of any further obligations in this matter. The

clerk shall appoint CJA counsel to represent Mr. Phillips.



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                                        .JOHN ROBBENHAAR
                                       TTED STATES MAGISTRATE JUDGE
